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                    UNITED STATES DISTRICT COURT

                          DISTRICT OF NEW JERSEY


  STEPHEN SILVERMAN, Derivatively on    ) Case No.: 2:12-cv-06540-SDW-SCM
  Behalf of PRUDENTIAL FINANCIAL,       )
  INC.,                                 )
                                        )
                   Plaintiff,           )
                                        )
        v.                              ) STIPULATION AND
                                        ) iCONSENT ORDER
  JOHN R. STRANGFELD, RICHARD J.        ) TO DISMISS ACTION
  CARBONE, MARK B. GRIER, PETER B.      ) WITHOUT PREJUDICE
  SAYRE, JAMES G. CULLEN, JAMES A.      )
  UNRUH, GILBERT F. CASELLAS,           )
  MARTINA HUND-MEJEAN, WILLIAM          )
  H. GRAY III, CONSTANCE J. HORNER,     )
  KARL J. KRAPEK, GASTON                )
  CAPERTON, GORDON M. BETHUNE,          )
  CHRISTINE A. POON, THOMAS J.          )
  BALTIMORE, JR., and JON F. HANSON,    )
                                        )
                   Defendants,          )
                                        )
        -and-                           )
                                        )
  PRUDENTIAL FINANCIAL, INC., a New     )
  Jersey corporation,                   )
                                        )
                  Nominal Defendant.    )
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        Plaintiff Stephen Silverman (“Plaintiff’), defendants John R. Strangfeld,

  RichErd J. Carbone, Mark B. Grier, Peter B. Sayre, James G. Cullen, James A.

  Unruh, Gilbert F. Casellas, Martina Hund-Mejean, Constance J. Homer Karl J.

  Krapek, Gaston Caperton, Gordon M. Bethune, Christine A. Poon, Thomas J.

  Baltimore, Jr., and Jon F. Hanson (the “Individual Defendants”)’, and nominal

  defendant Prudential Financial, Inc. (“Prudential,” with the Individual Defendants,

  “Defendants,” and collectively with Plaintiff the “Parties”), through their

  respective counsel of record, submit this stipulation and [proposed] order.

        WHEREAS, on October 16, 2012, Plaintiff filed his Verified Shareholder

  Derivative Complaint for Breach of Fiduciary Duties, Waste of Corporate Assets,

  and Unjust Enrichment (the “Complaint”), commencing this shareholder derivative

  action on behalf of Prudential and against the Individual Defendants (the

  “Action”);

        WHEREAS, this Action was stayed while the Parties monitored a motion to

  dismiss filed in a factually related securities fraud class action pending before this

  Court styled City of Sterling Heights General Employees’ Retirement System v.

  Prudential Financial, Inc., Case No. 2:12-cv-05275-SDW-MCA (the “Securities

  Action”);


  ‘William H. Gray III was voluntarily dismissed on May 14, 2014 (Doc. No. 30).




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        WHEREAS, at the request of the parties and in the interests of judicial

  eóonomy, thó CoUtt ordered thu Aôliôn adniinistià’vóly ólôèd óü Mái 12; 2015,

  suspending proceedings and deadlines in the Action;

        WHEREAS, the parties to the Securities Action reached a settlement, and on

  September 29, 2016, the court entered a Final Judgment and Order of Dismissal

  with Prejudice (Doc. No. 440);

        WHEREAS, while this Action was administratively closed, the parties also

  monitored a faclually related shareholder derivative suit in the Superior Court of

  New Jersey, Chancery Division, Essex County (the “State Court”), styled Memo v.

  Strangfeid, Docket No. C-l91-l3 (the “State Action”), which was dismissed with

  prejudice by the State Court on October 6, 2015;

        WHEREAS, the Superior Court of New Jersey, Appellate Division affirmed

  the dismissal ofthe State Action on August 21,2017;

        WHEREAS, Defendants have not ified or served an Answer to the

  Complaint or filed any dispositive motions in this Action;

        WHEREAS, Plaintiff seeks approval to voluntarily dismiss this Action

  without prejudice as to ali Defendants pursuant to Rules 41(aX1XAXii) and 23.12;




  All references to “Rule
  2                          “are to the Federal Rules of Civil Procedure.




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        WHEREAS, Plaintiff and Defendants represent that neither Plaintiff nor his

  counsel has received or will receive any payment or other benefit in exchange for

  Plaintiffs voluntary dismissal of claims against Defendants; and

        WHEREAS, notice under Rule 23.1 is within the Court’s discretion and is

  not required here because Plaintiffs decision to voluntarily dismiss the Complaint

  is not the result of collusion, will not result in any profit to Plaintiff or his counsel,

  and will not prejudice the rights of other shareholders to pursue the same or similar

  claims on behalf of the Company.

        NOW      AND      THEREFORE,        IT    IS   HEREBY      STIPULATED AND

  AGREED, by the Parties hereto, through their undersigned counsel, pursuant to

  Rules 23.1 and 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure and subject

  to the Court’s approval, that:

         1.    This Action shall be dismissed without prejudice; and

        2.     Each Party shall bear his, her, or its own costs, fees, and expenses,

  including attorneys’ fees.

        IT IS SO STIPULATED.

  Dated: September 5, 2017                       Respectfully submitted,

  /s/ Joseph J DePairna                           /s/ Daniel C. Fleming
  Joseph J. DePalma                               Daniel C. Fleming
  LITE DEPALMA GREENBERG,                         WONG FLEMING
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                              _________




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  Facsimile: (412) 471-1033                   nominal defendant Prudential
  yates1aw(ao1.com                            Financial Inc.

  Counsel Jbr Plaintff


                                        ***



                               CONSENT ORDER



  IT IS SO ORDERED THIS                                                    2017.




                                                                       JUDGE
   205613




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